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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS




***************************
Sourcing Unlimited, Inc.
d/b/a Jumpsource
             Plaintiff


             V.                          CIVIL ACTION NO.: 1:20-cv-11955-ADB


Elektroteks, LLC, Serkan Guler, John E. Fox Inc.,
Harry Berzack, Polanco Industrial Corporation,
Fabio Syring, and Seth Service-Manutenacao E
Comerico De Equipamentos LTDA
              Defendants
***************************




                               DEFAULT JUDGMENT
                                  June 13, 2024


Burroughs, D.J.


In accordance with the Memorandum and Order entered on June 13, 2024, GRANTING
IN PART Plaintiff’s motion for default judgment and Plaintiff's motion for attorneys'
fees and costs, Judgment is hereby entered in Plaintiff’s favor against Polanco Industrial
Corp. and it is hereby ORDERED, ADJUDGED AND DECREED that Plaintiff is entitled
to damages in the sum certain amount of $ 22,993,718.70, which consists of:
  1. $5,232,542.10 in damages;

  2. $10,465,084.20 for trebling; and

  3. $7,296,092.40 in pre-judgment interest.
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The Court awards attorneys’ fees in the amount of $27,163.40, and costs
in the amount of $3,185.75. This case is hereby ordered closed.
SO ORDERED.
                                                    /s/ Allison D. Burroughs
                                                   ALLISON D. BURROUGHS
                                                    United States District Judge




NOTE: The post judgment interest rate effective this date is: 5.12%
